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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.
                                                               Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                  Defendant.


                                     OPINION AND ORDER

         The government has filed a Motion for Formal Pretrial Notice of the Defendant’s Intent

to Rely on Advice-of-Counsel Defense. ECF No. 98 (“Motion”). That Motion asks the court to

order that by December 18, 2023, Defendant “provide notice in court of his intent to assert” an

advice-of-counsel defense at trial. Id. at 1. For the reasons set forth below, the court will

GRANT in part and DENY in part the Motion.

         The advice-of-counsel defense requires a defendant to “introduce[] evidence that (1) ‘he

relied in good faith on the counsel’s advice that his course of conduct was legal,’ and (2) ‘he

made full disclosure of all material facts to his attorney before receiving the advice at issue.’”

United States v. Gray-Burriss, 920 F.3d 61, 66 (D.C. Cir. 2019) (quoting United States v.

DeFries, 129 F.3d 1293, 1308 (D.C. Cir. 1997)). By invoking the defense, the defendant waives

attorney-client privilege and must therefore disclose to the government (1) all “communications

or evidence” the defendant intends to rely on to establish the defense, and (2) any “otherwise-

privileged communications” the defendant does “not intend to use at trial, but that are relevant to

proving or undermining” it. United States v. Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2018)

(emphasis in original) (citation omitted); see United States v. White, 887 F.2d 267, 270 (D.C. Cir.

1989).

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       The Federal Rules of Criminal Procedure and Local Criminal Rules do not expressly

require advance notice of the advice-of-counsel defense. But because waiting until trial to

invoke the defense—and comply with the disclosure obligations it triggers—could cause

disruption and delay, some district courts have concluded that they nonetheless have inherent

authority to order defendants to provide advance notice if they intend to do assert the defense.

See, e.g., Crowder, 325 F. Supp. 3d at 138; United States v. Dallmann, 433 F. Supp. 3d 804, 812

(E.D. Va. 2020). Other district courts, however, have concluded that they lack that authority.

See, e.g., United States v. Alessa, 561 F. Supp. 3d 1042, 1049 (D. Nev. 2021); United States v.

Wilkerson, 388 F. Supp. 3d 969, 974–75 (E.D. Tenn. 2019).

       In this case, the court need not decide whether it has authority to order Defendant to

provide notice, because he “agrees to provide notice to the prosecution of whether he intends to

pursue a formal advice of counsel defense at the time jury instructions are due, which is currently

January 15, 2024.” Opp’n to Motion, ECF No. 112, at 13. Defendant also proposes, however,

that rather than requiring disclosure immediately after he provides that notice, the court “should

solicit briefing to determine a reasonable schedule” for that disclosure, depending on the scope

of the Defendant’s requested jury instruction on advice-of-counsel defense. Id. But Defendant

cites no precedent for that procedure, and it runs contrary to the standard practice of requiring

that disclosure accompany notice, since that notice waives attorney-client privilege. See, e.g.,

Crowder, 325 F. Supp. 3d at 138–39 (requiring “notice and discovery” to be provided together);

Dallmann, 433 F. Supp. 3d at 816 (same). Indeed, notice without disclosure would have little

practical value, and would inject undue delay into the parties’ pretrial preparations.

       Accordingly, the government’s Motion for Formal Pretrial Notice of the Defendant’s

Intent to Rely on Advice-of-Counsel Defense, ECF No. 98, is hereby GRANTED in part and



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DENIED in part. As he has consented to do, Defendant shall provide formal notice whether he

intends to assert an advice-of-counsel defense by January 15, 2024. If Defendant does provide

affirmative notice of that intent, he must also provide the required discovery to the government at

that time: “any communications or evidence [Defendant] intend[s] to use to establish the

defense,” and “otherwise-privileged communications that [Defendant does] not intend to use at

trial, but that are relevant to proving or undermining the advice-of-counsel defense . . . in their

entirety.” Crowder, 325 F. Supp. 3d at 138 (emphasis in original) (citation omitted).



Date: November 8, 2023

                                                   Tanya S. Chutkan
                                                   TANYA S. CHUTKAN
                                                   United States District Judge




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